            Case 1:19-cr-00018-ABJ Document 151 Filed 07/25/19 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA
____________________________________
                                    )
UNITED STATES OF AMERICA,           )
                                    )
      v.                            )                 Crim. Action No. 19-0018 (ABJ)
                                    )
ROGER J. STONE, JR.,                )
                                    )
                  Defendant.        )
____________________________________)

                                              ORDER

          Upon consideration of defendant Roger J. Stone, Jr.’s Unopposed Motion for Permission

to Travel [Dkt. # 150], the motion is GRANTED.

          It is ORDERED that the defendant may travel to Green Cove Springs, Florida on August 20,

2019 and to Belleview, Florida on August 21, 2019. Defendant shall provide Pretrial Services with

a copy of this Order and his specific travel itinerary for the trip prior to his departure from the

Southern District of Florida. Defendant may not travel to any location aside from that set out

above and must contact Pretrial Services within the first business day by telephone upon his

return.

          SO ORDERED.




                                              AMY BERMAN JACKSON
                                              United States District Judge

DATE: July 25, 2019
